103 F.3d 121
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Patricia D. EDWARDS, a/k/a Patricia D. Lancaster, Defendant-Appellant,andMichael W. Lancaster, Defendant,CLOVER M. FARMS, INCORPORATED, Garnishee.
    No. 95-2874.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 31, 1996.Decided December 4, 1996.
    
      Patricia D. Edwards, Appellant Pro Se.
      Bruce Charles Johnson, OFFICE OF THE UNITED STATES ATTORNEY, Raleigh, North Carolina, for Appellee.
      E.D.N.C.
      AFFIRMED.
      Before WIDENER, WILKINS, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order granting the Appellee a deficiency judgment against her.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  United States v. Edwards, No. CA-94-685-5-FD (E.D.N.C. Aug. 16 &amp; Aug. 23, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    